          Case 3:14-cr-03569-MMA                   Document 76       Filed 11/13/15             PageID.446     .----~ ..,'--'->-.-.-..-.
                                                                                                                     Page     1 of 5 -->--­
AO 245B (CASDRev. 08113) Judgment in a Criminal Case                                                                    FI t~ED
                                         UNITED STATES DISTRICT COURT                                                   NOV 1 3 ?015 \
                                                                                                                  CL.EHr(., ~ S ~;i~~t.:::"" COJR7
                                             SOUTHERN DISTRICT OF CALIFORNIA                                   SOUTHEfW [)ISTf~      OF (;"L:FORr-<iA
                                                                                                               BY                             DEPUTY
              UNITED STATES OF AMERICA                              JUDGMENT IN A CRIMINAL CASE
                                    V.                              (For Offenses Committed On or After November 1, 1987)
                  JOHNNY CAMPBELL, JR. (2)
                                                                       Case Number:         14CR3569 MMA

                                                                    AMY KIMPEL, FEDERAL DEFENDERS INC.
                                                                    Defendant's Attorney
REGISTRATION NO.                    13008112
o
THE DEFENDANT:
 IZl   pleaded guilty to count(s)          ONE, TWO AND THREE OF THE SECOND SUPERSEDING INDICTMENT

 o was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is aqjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                          Count
Title & Section                          Nature of Offense                                                               Number(s)
18 USC 2113(a)                           BANK BURGLARY                                                                      1-2

 18 USC 2113(b)                          BANK BURGLARY                                                                          3




     The defendant is sentenced as provided in pages 2 through                4            of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

 D     The defendant has been found not guilty on count(s)

 IZl   Count(s)    UNDERLYING S. INDICTMENT & INDICTMENT      are         dismissed on the motion of the United States.

 lZl   Assessment: $100.00 AS TO EACH COUNT ($300.00 TOTAL)



 IZl No fine                    D Forfeiture pursuant to order filed                                               , included herein.
        IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
 change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
 judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
 any material change in the defendant's economic circumstances.




                                                                    HON. MICHAEL M. ANELLO
                                                                    UNITED STATES DISTRICT JUDGE



                                                                                                                       14CR3569 MMA
        Case 3:14-cr-03569-MMA                Document 76        Filed 11/13/15     PageID.447       Page 2 of 5
AO 245B (CASD Rev. 08113) Judgment in a Criminal Case

DEFENDANT:                JOHNNY CAMPBELL, JR. (2)                                                 Judgment - Page 2 of5
CASE NUMBER:              14CR3569 MMA


                                                      IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 TWENTY-FOUR (24) MONTHS AS TO EACH COUNT TO RUN CONCURRENT




 o     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 [81   The court makes the following recommendations to the Bureau of Prisons:
       COURT RECOMMENDS PLACEMENT IN OR CLOSE TO LOS ANGELES, CALIFORNIA.




 o     The defendant is remanded to the custody of the United States Marshal.

 [81   The defendant shall surrender to the United States Marshal for this district:
       [81   by                  12:00         P.M.             on 1211412015
       o     as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 o     Prisons:
             on or before
        o    as notified by the United States Marshal.
        o    as notified by the Probation or Pretrial Services Office.

                                                          RETURN
 I have executed this judgment as follows:
                                                                          to _ _ _ _ _ _ _ _ _ _ _ _ __
        Defendant delivered on

 at                                           , with a certified copy of this judgment.


                                                                   UNITED STATES MARSHAL



                                         By                   DEPUTY UNITED STATES MARSHAL


                                                                                                       14CR3569 MMA
                 Case 3:14-cr-03569-MMA                    Document 76              Filed 11/13/15            PageID.448             Page 3 of 5
      AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

      DEFENDANT:                     JOHNNY CAMPBELL, JR. (2)                                                                    Judgment - Page 3 of5
      CASE NUMBER:                   14CR3569 MMA

                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS AS TO EACH COUNT TO RUN CONCURRENT


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours ofrelease from the
custody ofthe Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days ofrelease from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
            The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
o           substance abuse. (Check, if applicable.)
IZI         The defendant shall not possess a fIrearm, ammunition, destructive device, or any other dangerous weapon.
            The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 ofthe DNA Analysis
IZI         Backlog Elimination Act of2000, pursuant to 18 USC section 3583(aX7) and 3583(d).
            The defendant shall comply with the requirements of the Sex Offender Registration and NotifIcation Act (42 U.S.C. § 16901, et
o           seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
            resides, works, is a student, or was convicted of a qualifYing offense. (Check if applicable.)
o           The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

            If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
       such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of
       Payments set forth in this judgment.
            The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
        with any special conditions imposed.
                                            STANDARD CONDITIONS OF SUPERVISION
       I)  the defendant shall not leave the judicial district without the permission of the court or probation officer;
       2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
       3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions ofthe probation officer;
       4)  the defendant shall support his or her dependents and meet other family responsibilities;
       5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
           reasons;
       6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
       7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
           any paraphernalia related to any controlled substances, except as prescribed by a physician;
       8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
       9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
            unless granted permission to do so by the probation officer;
       10) the defendant shall permit a probation officer to visit him or her at any time at horne or elsewhere and shall permit confiscation of any contraband
            observed in plain view ofthe probation officer;
       11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
       12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
            the court; and
        13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record or
            personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance
               with such notification requirement.



                                                                                                                                      14CR3569MMA
        Case 3:14-cr-03569-MMA         Document 76      Filed 11/13/15   PageID.449     Page 4 of 5
AO 245B (CASD Rev. 08113) Judgment in a Criminal Case

DEFENDANT:            JOHNNY CAMPBELL, JR. (2)                                        Judgment - Page 4 of 5
CASE NUMBER:          14CR3569 MMA

                              SPECIAL CONDITIONS OF SUPERVISION

     1. Report vehicles owned or operated, or in which you have an interest, to the probation
        officer.

     2. Submit person, property, residence, office or vehicle to a search, conducted by a United
        States Probation Officer at a reasonable time and in a reasonable manner, based upon
        reasonable suspicion of contraband or evidence of a violation of a condition of release;
        failure to submit to a search may be grounds for revocation; the defendant shall warn any
        other residents that the premises may be subject to searches pursuant to this condition.

     3. Provide complete disclosure of personal and business fmancial records to the probation
        officer as requested.
     4. Be prohibited from opening checking accounts or incurring new credit charges or opening
        additional lines of credit without approval of the probation officer.

     5. Shall not associate with Anthony Brown unless given permission by the probation officer.


II




                                                                                         14CR3569MMA
       Case 3:14-cr-03569-MMA         Document 76       Filed 11/13/15   PageID.450    Page 5 of 5
AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

DEFENDANT:            JOHNNY CAMPBE~, JR. (2)                                         Judgment - Page 5 of 5
CASE NUMBER:          14CR3569 MMA


                                         RESTITUTION


    Defendant shall pay restitution in the amount of $33,778.40 ($48,070.00 less
    $14,291.60 seized) to Bank of America 1351 Ballantyne Corporate PI, Charlotte,
    North Carolina 28277, through the Clerk, U. S. District Court. Payment of restitution
    shall be forthwith. During any period of incarceration the defendant shall pay
    restitution through the Inmate Financial Responsibility Program at the rate of 50% of
    the defendant's income, or $25.00 per quarter, whichever is greater. The defendant
    shall pay the restitution during his supervised release at the rate of $250 per month.
    These payment schedules do not foreclose the United States from exercising all legal
    actions, remedies, and process available to it to collect the restitution judgment.

    Defendant shall be jointly and severally liable to pay restitution with co­
    defendants/co-conspirators for the same losses. The presently known co­
    defendant/co-conspirator is Anthony Brown.

    Until restitution has been paid, the defendant shall notify the Clerk of the Court and
    the United States Attorney's Office of any change in the defendant's mailing or
    residence address, no later than thirty (30) days after the change occurs.




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